                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et                   §
al.,                                             §
             Plaintiffs                          §                   SA-21-CV-00844-XR
                                                 §
-vs-                                             §
                                                 §
GREGORY W. ABBOTT, et al.,                       §
            Defendants                           §

                                             ORDER

       On this date, the Court considered Defendants Gregory Abbot, Ken Paxton, and John

Scott’s motion for a protective order and to quash the deposition of former Texas Secretary of

State Ruth Hughs’ (ECF No. 353). As stated in open court, the motion is GRANTED in part and

DENIED in part.

       The deposition of former Texas Secretary of State Ruth Hughs is STAYED until such

time as Plaintiffs complete the depositions of Keith Ingram, Christina Adkins, and the 30(b)(6)

deposition of the Office of the Texas Secretary of State. If, after those depositions are completed,

Plaintiff Mi Familia Vota contends that Ms. Hughs’ deposition is necessary, Plaintiff Mi Familia

Vota may file a motion to lift the stay and compel Ms. Hughs’ deposition. Such a motion should

address how, in light of the completed depositions, Ms. Hughs has “first-hand knowledge related

to the claims being litigated that is unobtainable from other sources.” See In re Bryant, 745 F.

App’x 215, 218 n.2 (5th Cir. 2018). It must also address whether exceptional circumstances exist

that merit Ms. Hughs’ deposition. See id.




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It is so ORDERED.

SIGNED this 18th day of April, 2022.




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                          XAVIER RODRIGUEZ
                          UNITED STATES DISTRICT JUDGE




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